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                           SOUTHERN DISTRICT OF NEW YORK

 In re

 CUSTOMS AND TAX ADMINISTRATION OF
 THE KINGDOM OF DENMARK
 (SKATTEFORVALTNINGEN) TAX REFUND
                                                                   MASTERDMIO ENDORSED
                                                                   l 8-md-2865 (LAK)
 SCHEME LITIGATION

 This document relates to: All Cases.




  MOTION FOR ISSUANCE OF A REQUEST FOR INTERNATIONAL JUDICIAL
           ASSISTANCE TO OBTAIN EVIDENCE IN DENMARK

                 PLEASE TAKE NOTICE that the undersigned attorneys for the plaintiff

SKATTEFORVAL TNINGEN ("SKAT"), the Customs and Tax Administration of the Kingdom

of Denmark, will apply before the Honorable Lewis A. Kaplan of the Southern District of New

York at the Daniel Patrick Moynihan United States Courthouse, 500 Pearl Street, New York,

New York, 10007, at a time and date to be determined by the Court, for the issuance of a Request

for International Judicial Assistance Pursuant to the Hague Convention on the Taking of

Evidence Abroad in Civil and Commercial Matters and 28 USC § 17810,)(2). In support of

this motion, SKAT relies upon the accompanying Memorandum of Law and Declaration of Neil

J. Oxford dated December 27, 2019 and the exhibits attached thereto.
